EXHIBIT 26
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                           DECLARATION OF BENCE ÖLVECZKY

I, Bence Ölveczky, hereby declare as follows:

       1.      I am a Professor of Organismic and Evolutionary Biology at Harvard University. I

have held this position since 2016. Prior to this I was an Assistant (2007) and Associate Professor

(2012), also at Harvard.

       2.      I hold a joint PhD degree from Harvard University and MIT’s Division of Heath

Sciences and Technology in Medical Engineering and Medical Physics and from Harvard Univer-

sity’s Program in Neuroscience. I also hold MS degrees from Imperial College, London, and the

Technical University of Budapest, in Biomedical Engineering and Mechanical Engineering re-

spectively.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      My research focuses on how the brain learns new motor skills and how it generates

complex behaviors more generally. I study how different parts of the brain work in concert to
support these learning and control processes. A main focus of my lab’s work is to address the

function of the basal ganglia, which goes awry in people diagnosed with Parkinson’s and Hunting-

ton’s disease.

       5.        I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       6.        I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.        I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.




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       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intends to use its authority to

impose numerous demands on Harvard University specifically.

       10.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds across the university. Although this may limit the imme-

diate fallout for the work in my lab, the termination of federal funds will be crippling if federal

funds are not restored within a few months.

       11.     I had three federal grants. Two of my grants from the NIH were terminated on May

15, 2025. I run a lab of 10-12 people and my lab was largely funded by these grants. My federal

funding covered salaries for postdocs and technicians, reagents, animal care costs, instruments,

and publication costs. My research uses rats as animal subjects.

       12.     One of my terminated NIH grants funded research understanding sensorimotor con-

trol through neuro-biomechanical simulation. I was leading a research collaboration with other




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Institutions, including University of Washington, Stanford, and the Salk Institute, to establish a

research platform to simulate the neural control of movement in environments subject to real-

world physics. In effect, we were creating a virtual animal with a realistic biomechanical muscu-

loskeletal system controlled by an artificial neural network. The virtual agent could be trained to

mimic the behavior of real animals. The grant had the potential to transform how we study the

brain by allowing high throughput hypothesis testing in realistic agent in-silico and then comparing

these simulations to experiments in real animals. Research done as part of this grant also had the

potential to improve AI algorithms required for sophisticated robotic control.

        13.     My second terminated NIH grant funded research aimed at understanding the neu-

ral circuits underlying the acquisition and control of motor skills. Here we were studying how

subcortical circuits, including the thalamus and the basal ganglia, function to produce sophisticated

learned behaviors, work that not only informs our understanding of how healthy brains work, but

also the neural mechanism affected in disease. The work had the potential to improve the design

of rehabilitations strategies, including after a stroke.

        14.     I have one research project which is funded by the Simons Foundation for Autism

Research. This private funding covers work on a narrow set of questions related to autism research.

By contract I can only use this private funding to advance autism research that matches the goals

of the Foundation. This grant will end this year, and I was planning on applying for grants, includ-

ing from the NIH, to continue this promising research and extend its scope. The research involves

studying rats with genetic modifications that mirror some forms of autism to better understand

how autism affects brain function and behavior, specifically social behaviors.

        15.     A long-term loss of federal funding would be devastating to my research. My ex-

periments are complicated and run for a couple of years. If our work gets cut short, that means we




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will not be able to finish our experiments, analyze our data, and write publications. The funds

previously spent will have been for nothing, much of the work will be lost, and the public won’t

get the benefit of our completed research. Furthermore, when the research comes to fruition, my

lab will be credited for the insights our line of research yields. This is the currency in academia—

you publish and get credit for advancing the field. If our research gets cut short, my lab may have

little to show for 3-5 years’ worth of work. This would be a tragedy for all my staff.

        16.     Some of my experiments that were funded by federal grants involve training animal

subjects—rats—for months. If we had to terminate or pause those experiments, I would later have

to retrain new rats from scratch, which would be onerous and a waste of valuable research time.

        17.     If federal funding is not restored soon, I may be faced with letting critical staff

members go. My staff run the experiments, analyze the data, write reports to grant agencies, write

journal articles, maintain the animal colonies, and keep my research projects going. My staff have

invested years in this research, and if I had to let them go, it would derail and destroy their careers.

        18.     I recently had to renew the contract of one of my very good technicians. They were

on a nongovernmental grant, but it was still very difficult to renew their contract through Harvard.

The renewal was only authorized for 6 months, whereas I had asked for 18 months. I cannot hire

any new staff because of the hiring freeze Harvard implemented partly in anticipation of Trump

administration threats to its federal funding. Thus, if I have to let staff go, I may not be able to

replace them.

        19.     Even if I could later hire new staff when federal funding is restored, I could not

replace my current staff who have spent 3-4 years in my lab and understand our data and how to

conduct our experiments. My laid off staff would have to try to get other jobs, and it would be very

difficult to find people with similar expertise to suddenly pick my research back up.




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       20.     In each lab, including mine, there are technicians and/or researchers with institu-

tional memories. It would be devasting to let go of a staff member who knows every little detail

about what has happened with past research and understands the ins and outs of how all our re-

search procedures work. My staff, especially my technicians, are invaluable to our research.

       21.     If I brought in new staff in a few years after federal funding resumes, I may have

to train them for 2-3 years to be able to run similar experiments. This would create a lot of delays

in my research. My research cannot be paused and then restarted from where I left off.

       22.     Furthermore, in academia, postdocs come up with their own research ideas and ex-

ecute on those ideas. Someone new coming in would not want to do exactly the same type of

research my current postdocs are engaged in. Their research would be entirely lost.

       23.     The termination of federal funding at Harvard and other American universities will

be devastating to this country. I came to the United States to conduct my research because of the

scientific infrastructure here and because partnerships between the federal government and uni-

versities like Harvard allowed scientists to conduct research that otherwise would not have been

possible. By terminating federal funding to Harvard and other universities, the federal government

is dismantling and destroying work that fuels the innovations that fuel the economy. Scientists like

myself are trained in other countries but our best work has been done in this country and we gen-

erate intellectual property in this country. Countries in Europe and around the world are now luring

researchers based in the United States away. This will have devastating long-term impacts for

society.




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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 29, 2025                                  Signed:

                                                     Bence Ölveczky
                                                     Professor of Organismic and Evolutionary
                                                     Biology




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